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                  IN THE UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

CHIEF DPT. JERRY LUMAN;
ASST. CHIEF NORMAN VERBOSKY;
LIEUTENANT DAVID WILLIAMS;
SENIOR SERGEANT SARA CYNTHIA
“CINDY” VARA-LEIJA;
SERGEANT MARCUS ANDERSON;                          NO. 4:19-cv-4920
CORPORAL REED CLARK;                             (JURY DEMANDED)
SENIOR DEPUTY ANA HERRERA;
DEPUTY CLAUDIA ARELLANO;
DEPUTY DWAYNE PACIFICO;
DEPUTY RICARDO “PICO” RODRIGUEZ;
DEPUTY JAVER ZAVALA;
CHIEF CLERK MARY ANN CARRION;
AND
EMILY RIVERA.
        Plaintiffs,

V.

CHRISTOPHER DIAZ,
IN HIS INDIVIDUAL CAPACITY AS
CONSTABLE, PCT. 2, OF HARRIS
COUNTY, TEXAS;
HARRIS COUNTY, TEXAS;
ANA DIAZ, IN HER INDIVIDUAL
CAPACITY AS MAYOR OF JACINTO
CITY, TEXAS; AND
JACINTO CITY, TEXAS.

       Defendants.


                 PLAINTIFFS’ THIRD AMENDED COMPLAINT

      COMES NOW, CHIEF DPT. JERRY LUMAN, ASST. CHIEF NORMAN
VERBOSKY, LIEUTENANT DAVID WILLIAMS, SENIOR SERGEANT SARA


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CYNTHIA         “CINDY”       VARA-LEIJA,        SERGEANT        MARCUS        ANDERSON,
CORPORAL REED CLARK, SENIOR DEPUTY ANA HERRERA, DEPUTY
CLAUDIA ARELLANO, DEPUTY DWAYNE PACIFICO, DEPUTY RICARDO
“PICO” RODRIGUEZ, DEPUTY JAVER ZAVALA, CHIEF CLERK MARY ANN
CARRION, AND EMILY RIVERA, Individually, and on behalf of all those similarly
situated (the “Plaintiffs”), Plaintiffs in the above styled case, and makes this their third
amended complaint against HARRIS COUNTY and CHRISTOPHER E. DIAZ, in his
individual capacity, and JACINTO CITY, TEXAS, and ANA DIAZ, in her individual
capacity, and for cause of action in violation of the First Amendment would show as
follows:


                                  PARTIES AND SERVICE

1.       Plaintiff, Chief Deputy Jerry Luman, is an individual and resident of the State of
Texas.


2.       Plaintiff, Assistant Chief Norman Verbosky, is an individual and resident of the
State of Texas.


3.       Plaintiff, Senior Sergeant Sara Cynthia “Cindy” Vara-Leija, is an individual and
resident of the State of Texas.


4.       Plaintiff, Lieutenant David Williams, is an individual and resident of the State of
Texas.


5.       Plaintiff, Sergeant Marcus Anderson, is an individual and resident of the State of
Texas.


6.       Plaintiff, Corporal Reed Clark, is an individual and resident of the State of Texas.

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7.       Plaintiff, Senior Deputy Ana Herrera, is an individual and resident of the State of
Texas.


8.       Plaintiff, Deputy Claudia Arellano, is an individual and resident of the State of
Texas.


9.1.     Plaintiff, Deputy Dwayne Pacifico, is an individual and resident of the State of
Texas.


9.2.     Plaintiff, Deputy Ricardo “Pico” Rodriguez, is an individual and resident of the
State of Texas.


9.3.     Plaintiff, Deputy Javer Zavala, is an individual and resident of the State of Texas.


10.      Plaintiff, Chief Clerk Mary Ann Carrion, is an individual and resident of the State
of Texas.


11.      Plaintiff, Emily Rivera, is an individual and resident of the State of Texas.


12.      Defendant, Christopher Diaz, who is sued in his individual capacity, may be served
with process at 10826 Munn St, Houston, Texas 77029.


13.      Defendant, Harris County, Texas, is a governmental entity organized under Texas
law. Harris County, Texas, may be served with process through Judge Lina Hidalgo at
1001 Preston, Suite 911, Houston, Texas 77002.


14.      Defendant, Ana Diaz, who is sued in her individual capacity, may be served with
process at 10826 Munn St, Houston, Texas 77029.

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15.    Defendant, Jacinto City, Texas, is a municipal entity organized under Texas law.
Jacinto City, Texas, may be served with process through the City Attorney, Jim Defoyd, at
103 Eastway St, Galena Park, Texas 77547.




                             JURISDICTION AND VENUE

16.    This case is brought under 42 U.S.C. § 1983 for the violation of the plaintiffs’ first
amendment rights. The Court has jurisdiction of this case according to 28 U.S.C. §§ 1331
and 1343.


17.    Venue is invoked pursuant to 28 U.S.C. § 1391.



                                          FACTS

                                      CHRIS DIAZ

18.    After Diaz was elected to the position of constable, Diaz shiftily instituted reforms
within Precinct Two to ensure that he would continue to be elected.      Chief among these
reforms involved requiring employees, as a condition of employment, to work for the a
private party - the Diaz campaign - and to perform certain campaign functions. Two
primary campaign functions, which are at issue in this case, involve (1) securing the
necessary capital to fund the Diaz campaign and (2) the acquisition of participants to
perform the Diaz’s campaign’s administrative functions, such as notification of employees
of upcoming campaign events, securing necessary participants, and locating items which
would could be sold to raise capital for the Diaz campaign.


19.    Diaz required Precinct Two employees to perform these essential campaign
functions and conditioned employment upon their performance. Additionally, anyone


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impleading Diaz campaign functions, including reporting or participating in any
investigation into how Diaz operated his campaign, would be retaliated against. This
includes those employees who participated in the Texas Rangers investigation into
misappropriated Harvey donations by the Diaz campaign, essentially alleging that the Diaz
campaign committed theft as a matter of public concern. Every employee who provided
the Texas Rangers with information that impleaded the operation of the Diaz campaign has
been disciplined.   This includes: Chief Deputy Jerry Luman, Assistant Chief Norman
Verbosky, Lieutenant David Williams, Senior Sergeant Cindy Vara-Leija, Corporal Reed
Clark, Senior Deputy Ana Herrera, Chief Clerk Mary Ann Carrion, and Deputy Ricardo
“Pico” Rodriguez.


20.    Employees who also generally spoke out or refused to participate in the Diaz
campaign would also be disciplined. For example, soon after Sergeant Marcus Anderson
told Diaz that he was not going to participate in campaign fundraising event at Top Golf,
Diaz immediately transferred and demoted him.


21.    Employees who supported opposition candidates would be disciplined by Diaz. For
example, Deputy Claudia Arellano was terminated and given a “dishonorable discharge”
for supporting an opposition candidate while her partner, Pernelli Jones, was not
disciplined for the same conduct allegedly giving rise to her termination.


22.    Diaz also conditioned advancement within Precinct Two upon a quantitative
evaluation of that employee’s contribution to the Diaz campaign, such that, coveted
positions would go to employee who had contributed the most. This evident from Diaz’s
failure to promote Senior Deputy Ana Herrera to a position given to Blanca Martinez, as
the public campaign finance reports from the Diaz campaign show that Blanca Martinez
gave $9,945.00, while during that same time period Senior Deputy Herrera was unable
compete with that amount and refused to contribute in 2019.



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23.    If an employee did not live up to Diaz’ expectations, or refused to continue
performing these essential campaign functions, Diaz would discipline the employee. Every
Plaintiff, in this case, was disciplined by Diaz, himself, with direct orders from Diaz to
force, in many cases, termination. Discipline would take many forms, but generally,
involved some type of involuntary transfer or demotion in an effort to constructively
discharge the employee. In other words, force the employee to quit. This is evident by the
demotion of Lieutenant Williams who was transferred and demoted to the rank of deputy
before being terminated and received a pay reduction of almost 50%.


24.    Depending upon the severity of the employees’ disobedience, Diaz could exact the
highest price: termination by dishonorable discharge. A dishonorable discharge would
effectively prohibit an officer from obtaining employment with another law enforcement
agency. This is evident from the termination of Chief Deputy Jerry Luman and Deputy
Claudia Arellano, who both received a dishonorable discharge.            The dishonorable
discharge was reported their F-5 separation of license report sent to Texas Commission on
Law Enforcement (or “TCOLE”).


25.    After taking some action contrary to Diaz’s employment policy or speaking on
matters of public concern with regards to how the campaign operated, each of the Plaintiffs
in this case suffered the same type of adverse employment action, including demotion,
involuntary transfer, termination or constructive discharge.


26.    Diaz’s policy is evident from the Diaz campaign finance reports. The review of the
Diaz campaign finance reports, which are documents readily available to the general
public, show Diaz’s impact upon the employees of Precinct Two. For one, each and every
Plaintiff in this lawsuit is listed as a donor and/or, at one point in time, felt coerced to
donate to the Diaz campaign. Diaz only began to seek retribution against each Plaintiff
when each employee refused to participate.



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27.      In review of the Diaz campaign finance reports, the following is evident:

      1. Chief Deputy Jerry Luman, the second highest ranking classified police officer at
         Precinct Two and second only to Diaz himself, was terminated on July 30, 2019.
         Chief Deputy Jerry Luman’s replacement, Lee Hernandez (as well has his wife),
         gave $1,980.67 to the Diaz campaign in 2019, while during that same time period
         Chief Luman refused to contribute.

      2. Assistant Chief Norman Verbosky, the third highest ranking classified police officer
         at Precinct Two, was terminated on March 7, 2019. Assistant Chief Verbosky’s
         replacement, Lee Hernandez, gave a substantial sum of money to the Diaz
         campaign, as indicated above, while Assistant Chief Verbosky refused to contribute
         during this same time period. This is the same Lee Hernandez that replaced Chief
         Luman and was, therefore, promoted twice within a short time period: first, to
         replace Verbosky and, second, to replace Luman. The swift advancement of
         Hernandez from a reserve deputy to chief deputy is unprecedented in the history of
         Harris County.

      3. Captain (or sometimes referred to as “Interim Captain”) Paul Martinez was later
         promoted to Verbosky’s position after Hernandez was promoted to Luman’s
         position. Captain Paul Martinez gave $1,750.00 to the Diaz campaign in 2019.
         Before being promoted to captain, Interim Captain Paul Martinez was a reserve
         deputy at Precinct Two. The swift advancement of Martinez from a reserve deputy
         to a captain is also unprecedented in the history of Harris County.

      4. Lieutenant David Williams, who was the primary supervisor over the Internal
         Affairs Division (or “IAD”), was repeatedly demoted and involuntarily transferred
         on many different occasions. Eventually, after being reduced to the rank of deputy,
         a reduction of several ranks, Lieutenant David Williams was constructively
         discharged on August 28, 2019. Lieutenant Williams refused to contribute to the
         Diaz campaign in 2019, while Corporal Rene Vela gave $400 over this same time
         period. Corporal Rene Vela was rewarded by Diaz, hired, promoted to the rank of
         corporal and awarded Lieutenant David Williams’ position as an IAD investigator.
         Corporal Rene Vela also investigated Luman, Arellano, and Williams. Corporal
         Rene Vela should not have investigated Williams, because Vela was biased.
         Corporal Vela had inherited a majority of Williams job duties, and, thus, had a
         vested interest in finding that Williams had committed misconduct. Diaz believed
         that it is was important to gain control of the Internal Affairs Division because Diaz
         could use IAD as a tool to terminate officers.




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      5. Cindy Vara-Leija’s job duties were stripped from her and were given to Latrisha
         White. While White was a new hire, she had contributed $400 to the Diaz campaign
         in 2019, while Vara-Leija refused to contribute.

      6. After Sergeant Anderson was forced to resign, his job duties were given to Blanca
         Martinez. While Anderson refused to contribute to Diaz towards the end of 2018,
         Blanca Martinez, on the other hand, gave $9,945.00 to the Diaz campaign. Diaz
         rewarded her for her contributions to his campaign.

28.      The following are detailed accounts of Plaintiff’s experiences with Diaz. The
experiences are organized from the date of the first adverse employment action.


29.      Overall, the United States Supreme Court expressly prohibits government from
requiring employees to contribute to private parties they find objectionable. All the
plaintiff in this case bring a Fifth Amendment cause of action against Harris County and
Constable Chris Diaz.


30.      The lack of civil service protection, under Chapter 143 of the Local Government
Code, for each of the plaintiffs in this case contributed to environment in which Diaz was
allowed to exploit his position for personal gain.


                                        ANA DIAZ


30-1. Ana Diaz is the wife of Chris Diaz and was elected to the position of mayor of
Jacinto City, Texas in 2011. At all times relevant to this case, Ana Diaz served as Mayor
of Jacinto City, Texas.


30-2.     Ana Diaz is a policymaker for Jacinto City, Texas. The Jacinto City Charter
indicates that the “the governing body of the City shall be composed of the Mayor and five
(5) Councilmen.” Jacinto City Charter, art. 5, § 1. Ana Diaz serves on the Jacinto City
Council, and has voting power. Thus, according to the Jacinto City Charter, Ana Diaz is
not a ceremonial figurehead.

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30-3. Chris Diaz and Ana Diaz conspired to utilize Ana Diaz’s position as Mayor of
Jacinto City to issue unlawful code violation notices to Defendants who owned or managed
property located within the boundaries of Jacinto City. The notices were unlawful because
the Defendants were not in violation of the codes they were cited for. The notices were
made pursuant to code enforcement powers of the Jacinto City. Two Defendants that
received notices were: Claudia Arellano and Jerry Luman.


30-4. Both Ana and Chris Diaz were aware that Arellano and Luman owned property in
Jacinto City. Arellano’s residence was cited for failure to obtain a construction permit, but
Arellano was not conducting any construction on her residence at the time the notice was
issued. Arellano lives on the same street as Chris and Ana Diaz and her home is very close
to the Diaz residence.    Chris and Ana Diaz view Arellano’s property almost daily, as
Arellano observes Chris and Ana Diaz traveling to/from their residence. Likewise, Chris
Diaz traveled to Luman’s property. Like Arellano, Luman was cited for violations that did
not occur.


30-5. The timing is also evidence of an agreement to conspire.          On April 18, 2019,
Arellano put up a yard sign for Jerry Garcia at her home in an observable location from the
Diaz’ residence. On April 24, 2019, just a few days after the placement of the yard sign,
Arellano received the code violation notice at her residence. Likewise, Luman received a
notice on May 16, 2019, just ten days after he was placed on indefinite suspension on May
6, 2019.


30-6. The purpose of the unlawful code violation notices was to send a clear signal to
Arellano and Luman that they had violated Chris Diaz’s employment policy of
conditioning employment upon participation in the Diaz campaign.         The notices are an
additional example of the retaliation experienced by Arellano and Luman for exercising
their First Amendment Right not to participate in the Diaz campaign.

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30-7. Furthermore, the agreement to conspire between Chris and Ana Diaz is evident by
Ana Diaz’s involvement and participation in the Diaz campaign. Ana Diaz was present
with Chris Diaz at majority of the campaign events. Ana Diaz also had authority and
influence over Chris Diaz’s personnel decisions, including the promotion of certain
personnel within Precinct 2. The Defendants believe that Ana Diaz promoted Nancy
Gosney to the position of Head Clerk after Mary Ann Carron was constructively
discharged. Chris and Ana Diaz’ interests are aligned, such that Ana Diaz desired, like her
husband, to get Chris Diaz elected. Ana Diaz was also aware, because of her participation
and attendance at Diaz campaign events, that Chris Diaz conditioned employment at
Precinct 2 upon contributions to the Diaz campaign. Ana Diaz would listen while Chris
Diaz spoke of loyalty and understood, like every other employee, that Diaz required full
employee participation in the Diaz campaign and employees would be punished if they
failed to deliver. The notices at issue in this conspiracy are further attempts to punish
Luman and Arellano for their disobedience.


                             DEPUTY REED CLARK
           (Demoted and involuntary transferred on or about October 16, 2018)
                            (Terminated on June 9, 2019)

31.     Prior to working for Precinct Two, Clark had an extensive background in working
on previous campaigns and would, often, interact with Diaz and Kim Bellotte at various
community events.     Eventually, Clark agreed to work for Diaz and Bellotte with the
understanding that Clark was hired, primarily, for his fundraising ability. Clark, fully
aware of the reason why he was hired, knew that his job depended upon his contributions
to the Diaz campaign. Thus, Clark is another example of personnel decisions being made
at Precinct Two on the basis of their ability to contribute to the Diaz campaign, and not
related to serving some greater police function.




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32.     After Clark was hired, Clark worked for a short time in patrol and then was
transferred into the newly created community outreach division, which was, at that time,
led by Kim Bellotte. Bellotte was recently promoted to the rank of senior lieutenant by
Diaz in order to run Diaz’s community outreach division which was, in all reality, another
branch of the Diaz campaign.         Bellotte’s promotion to lieutenant immediately after
completing the academy is unprecedented in the history of Harris County.


33.     While working in the community outreach division, Clark was responsible for
organizing events, fundraisers, silent auctions, and block walking.            Clark spent a
considerable amount of time securing donations for the Diaz campaign.


34.     While working in the community outreach division, Clark was ordered by Bellotte
to transport a large amount of food and other supplies that were intended for flood victims
of Hurricane Harvey to Bellotte’s residence. Clark believed that these food and supplies
should not have been transported to Bellotte’s residence and, eventually, reported this issue
to the Chief Deputy Luman. Chief Deputy Luman, in term, reported what Clark told him
to Texas Ranger Daron Parker.


35.     On April 12, 2018, Clark was questioned Texas Ranger Daron Parker. Clark
provided unfavorable testimony to Diaz.          His testimony showed that Bellotte had
misappropriated items intended to be given to Hurricane Harvey flood victims. Clark
worried that Diaz would perceive his unfavorable statements to Parker as challenging the
way that Diaz ran his campaign.


36.     Shortly after being called to give a statement by Parker, Clark noticed that Bellotte’s
attitude and demeanor toward him began to change. Bellotte became verbally abusive.
Clark stopped receiving notifications of campaign events and was not invited to participate
in breakfast meetings. Clark was removed from the Diaz campaign’s social media outlets.
During this time period, Clark also told Lee Hernandez, who had replaced Bellotte as head

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of the community outreach division, that he no longer desired to participate in the Diaz
campaign.


37.     On October 16, 2018, Clark was called into the meeting with the executive
command, which included, at that time, Luman, Verbosky, Williams, and Lt. Michael
Kritzler.     Based upon direct orders by Diaz, Clark was demoted and involuntarily
transferred to a less desirable position in the patrol division.        The change was both a
demotion and an involuntary transfer. Clark was being stripped of has administrative
duties in the community outreach division and placed into a reactive patrol assignment –
the contract patrol assignment. As evidence of this, Clark also lost the ability to work on
the weekends. The change was also an involuntary transfer, because Clark was being
transferred, against his will, from the day shift to the night shift.


38.     As further evidence to the retaliatory nature of the change of employment, Clark
was not given notice as required under Section 614.023 Texas Local Government Code.
Prior to his transfer and demotion, Clark did not have any disciplinary history, was not
written up, and his disciplinary record was clean. Clark’s demotion and involuntary
transfer, which would be the first of many more to come, was made in retaliation for his
refusal to contribute to the Diaz campaign and his challenge to the way that Diaz ran his
campaign.


39.     Unable to cope with these intolerable working conditions, Clark was forced to resign
on June 9, 2019.


                          RICARDO “PICO” RODRIGUEZ
            (Demoted and involuntary transferred on or about October 31, 2018)
                             (Terminated on June 9, 2019)

40.     The facts of Deputy Rodriguez’s case are similar to Deputy Reed Clark’s case.



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41.        On April 12, 2018, Rodriguez was questioned Texas Ranger Daron Parker.
Rodriguez provided unfavorable testimony to Diaz. Like Reed, Rodriguez testimony
showed that Bellotte had misappropriated items intended to be given to Hurricane Harvey
flood victims. Rodriguez worried that Diaz would perceive his unfavorable statements to
Parker as challenging the way that Diaz ran his campaign.


42.        Shortly after being called to give a statement by Parker, Rodriguez noticed that
Bellotte’s attitude and demeanor toward him began to change. At one point in time,
Rodriguez met with Bellotte, and Bellotte scowled, or otherwise, expressed her displeasure
with Rodriguez. Rodriguez stopped receiving notifications of campaign events and was not
invited to participate in breakfast meetings.                   Rodriguez was removed from the Diaz
campaign’s social media outlets. Diaz also deleted Rodriguez and his family from Diaz’s
personal Facebook account. Rodriguez was, essentially, blacklisted and ostracized.


43.        On October 3, 2018 or October 16, 2018,1 Rodriguez (as well as Reed) were called
into a meeting with the executive command, which included, at that time, Luman,
Verbosky, Williams, and Lt. Michael Kritzler.                        Based upon direct orders by Diaz,
Rodriguez was demoted and involuntarily transferred to a less desirable position with a
task force (that was later assigned to Williams). Rodriguez explained that he did not want
to go, but Luman explained that Diaz had ordered the move.


44.        Later, on or about, October 3, 2018, Rodriguez and Reed met with Hernandez.
Hernandez indicated that Rodriguez and Reed needed to find other jobs. Hernandez talked
about not working out. Rodriguez questioned Hernandez about why he should leave, and
Hernandez angerly responded that Rodriguez needed to leave.




1
    The exact date occurred on either October 3, 2018 or October 16, 2018.

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45.     On or about October 9, 2018, Rodriguez and Reed attended a Diaz campaign
meeting located at a Best Western. While addressing all the attendees, which were
composed of Precinct Two employees, Diaz was angry and aggressive. In an upset tone,
Diaz stated that “ya’ll don’t love around here and don’t care anymore, well you better care.”
Diaz added, “ya’ll are from other places, and I gave you a chance here.”


46.     Rodriguez left the meeting with the impression that Diaz was targeting him.


47.     On or about October 10, 2018, Rodriguez and Reed again met with Hernandez.
Hernandez, using profanity and curse words, indicated that people should not mess with
him. Hernandez indicated that Diaz was the boss and when Diaz ordered something,
people needed to listen. Hernandez explained that if Diaz was mad that someone, Diaz
would move them, and then used Rodriguez as an example. Rodriguez believed this was
additional pressure to leave, as Diaz had started to transfer power away from the command
staff, and give power to Hernandez to enforce his own employment policies. Hernandez
also indicated that Rodriguez would be moved to an evening-shift position.            Again,
Rodriguez was not provided notice under Section 614.023 Texas Local Government Code,
for the demotion.


48.     On or about October 31, 2018, Rodriguez started the evening shift position. On or
about November 1, 2018, Williams indicated that Rodriguez could start work with the task
force. Rodriguez worked with the task force until, unable to cope with these intolerable
working conditions, Rodriguez was forced to resign on June 9, 2019.


49.     On November 26, 2018, Rodriguez presented a certificate to Reed Clark for his
leadership in the community outreach/media relations division. After Diaz learned of the
existence of the certificate, Diaz ordered Williams, the current IAD investigator at that
time, to determine if there were any criminal charges that could have been brought against



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Rodriguez. Fortunately for Rodriguez, Williams criminal charges or the certificate had
violated Harris County policy.



                       SERGEANT MARCUS ANDERSON
              (Demoted and Involuntary Transferred on December 4, 2018)
                          (Terminated on January 4, 2019)

50.     In order to appease Diaz, in late September 2018, Sergeant Marcus Anderson
participated, as he had done in the past, in a Diaz campaign meeting at a business known
as “Spanky’s” located in Pasadena. As standard practice at Precinct Two, the purpose of
the event was to assign Precinct Two employee various tasks that needed to be completed
prior to a scheduled Diaz fundraising event. At the time of this September 2018 meeting,
an event at Top Golf was planned to occur on October 25, 2018.


51.     As Anderson had done in the past, Anderson knew that Diaz required him to
purchase tickets for the Top Golf event, which were priced at $125 each, as well as
contribute approximately 16 to 20 hours preparing for the event. Anderson, however, had
become disgusted with Diaz’s continual exploitation of his employment relationship and
believed that the relationship was damaged beyond repair. Anderson told Diaz at the
campaign meeting at Spanky’s that he was not going to contribute to the Top Golf event
on October 25, 2018. In response, Diaz turned to Anderson and stated:


        “You have money to go on vacation, but you don’t have money for this golf
        tournament.” Diaz then added, “It must be nice to have money to go on
        vacation.”

52.     At the September 2018 campaign meeting at Spanky’s, Diaz addressed the
employees and indicated that he needed money for the Diaz campaign. Diaz also told
employees if they did not have a money, they needed to borrow it from their own retirement
accounts or get a loan from a bank. This was the same rhetoric that was emphasized at a
majority of prior campaign meetings.

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53.     Three days after Sergeant Anderson refused to participate in the event at Top Golf,
Sergeant Anderson was ordered to report to the conference room for a meeting held by
Luman and Williams. At the meeting, Luman told Anderson that Diaz was upset about
Sergeant Anderson’s lack of support for the Diaz campaign. Luman further told Anderson
that Anderson was being demoted and stripped Anderson of his car allowance.


54.     On or about October 12, 2018, Sergeant Anderson took his family to Disney World.
Sergeant Anderson did not enjoy his time with his family because he worried about the
status of his job and his financial security.


55.     On December 3, 2018, Sergeant Anderson reiterated in front of Assistant Clerk
Jessica Duran, Deputy Dwayne Pacifico, Clerk Emily Rivera, and Chief Deputy Jerry
Luman that he refused to give any further time or funds to the Diaz campaign.


56.     On December 4, 2018, Luman and Williams told Anderson that Diaz had ordered
Anderson to be involuntarily transferred and demoted to night shift. Diaz did not give
Luman any reason for the change. Anderson was involuntarily transferred from day to
night shift, and demoted by moving from a proactive assignment in warrants to a reactive
patrol assignment. Anderson explained that his vision is impaired at night and he had not
worked nights since 2006. Concerned about safety, Anderson advised Luman and Williams
that he could not effectively operate a patrol vehicle at night and might injure himself or
the citizens of Harris County. Luman and Williams advised Sergeant Anderson that,
unfortunately, they were powerless to change Diaz’s mind. Because of the adamant and
agitated nature in which Diaz conveyed the order to both Luman and Williams, Williams
told Anderson that Diaz was not concerned about Anderson’s safety.




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57.     Although Diaz, officially, had not provided Anderson with any notice of the reason
for his demotion and involuntary transfer, Anderson understood that he had been demoted
and involuntarily transferred because of his refusal to participate in the Diaz campaign.


58.     Thereafter, Sergeant Anderson contacted the Mann Eye Clinic and had his vision
checked. Anderson advised the doctor that he had trouble seeing at night. The doctor
indicated there was no corrective procedure.


59.     After seeing the doctor, Sergeant Anderson advised his supervisor, Lieutenant Mike
Kristzler, that he could not see at night and could not perform his patrol duties at night.
Kristzler advised that he was also powerless to make any sort of change to Anderson’s shift
because Diaz was adamant about Anderson being on that shift. Sergeant Anderson also
approached Luman about the issue, but Luman reiterated what Kritlzer had told him.


60.     Fearing for his safety and the safety of the citizens of Harris County, Sergeant
Anderson was forced to resign on January 4, 2019.


61.     As further evidence to the retaliatory nature of the Anderson’s demotion and
involuntary transfer, Anderson was not given a 614.023 notice as required under Section
614.023 Texas Local Government Code.



                     ASSISTANT CHIEF NORMAN VERBOSKY
                           (Terminated on March 7, 2019)

62.     In addition to Clark, Assistant Chief Norman Verbosky also participated in the
Texas Rangers investigation conducted by Texas Ranger Daron Parker. On May 11, 2018,
Verbosky was interviewed by Texas Ranger Daron Parker and provided unfavorable
testimony to Diaz which primarily examined the extent of Kim Bellotte’s involvement in
the Diaz campaign. By providing said testimony to Texas Ranger Daron Parker, Verbosky


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sent a clear message to Diaz that he would no longer tolerate Diaz’s continual use of the
employment relationship at Precinct Two as a means by which Diaz would continue to get
elected.    Verbosky also declined to provide Diaz with any further assistance to his
campaign and stopped attending campaign functions.


63.     On November 16, 2018, Assistant Chief Deputy Norman Verbosky went out on
FMLA leave for medical issues related to cancer. On February 11, 2018, Verbosky
returned back to work, although not taking all the time that was allowed.


64.     On February 11, 2018, Diaz approached Chief Jerry Luman and ordered Luman to
inquire about whether Verbosky wanted to retire. On that same day, Luman confirmed
that Verbosky did not want to retire.


65.     On March 7, 2019, Luman was ordered to report to a restaurant, called “Ernie’s,”
located near Beltway 8 at Pasadena. Luman went into the restaurant to meet Diaz. After
meeting Diaz, Diaz instructed Luman to walk outside to his car. After the two walked
outside, Diaz handed Luman a letter indicating that Assistant Chief Deputy Verbosky was
to be terminated today. Diaz then added, “I want you to put Lee [Hernandez] in that spot,
assistant chief, and move [Clint] Brown into his spot.” Diaz added, “Do it immediately!”


66.     Later, on March 7, 2019, Verbosky was ordered to report to Luman. At the meeting,
Luman informed Verbosky that he was terminated, effective immediately, as ordered by
Diaz. Diaz also ordered Lieutenant Hernandez to be present at the meeting. Assistant Chief
Verbosky’s termination letter stated, “This decision is based on my loss of confidence,
complete lack of trust and faith in your continued ability to perform your duties, and actions
that demonstrate you no longer support my strategy and vision moving forward.” Assistant
Chief Verbosky believes that his termination letter refers, specifically to the terms “lack of
trust,” to Assistant Chief Verbosky’s participation in the Texas Ranger’s investigation.



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67.     As further evidence of the retaliatory nature of the employment change, Verbosky
was not given a notice as required under Section 614.023 Texas Local Government Code.
Prior to his transfer and demotion, Verbosky did not have any disciplinary history, was
never written up, and his disciplinary record was clean.   Overall, throughout his entire
tenure at Precinct Two, Verbosky was an exemplary deputy.         Diaz does not have a
legitimate basis for his termination.

                                   EMILY RIVERA
                             (Terminated on March 15, 2019)

68.     On February 21, 2019, while working at Precinct Two, Emily Rivera received a text
from Christy Hernandez, Lee Hernandez’s wife, about Jessica Duran’s status and other
matters related to the Diaz campaign. Rivera responded that she did not want to discuss
logistics related to the Diaz campaign while on duty.


69.     On March 5, 2019, Christy Hernandez notified Rivera of an upcoming Diaz
campaign event that was to be kept private. The individuals expected to meet at the event
included Christy Hernandez, Lee Hernandez, Chris Diaz, Jessica Duran, Eric Lister, Julian
Garza, Blanca Martinez, Claudia Arellano, and John Miller. Rivera responded that she
would not attend the event. Christy Hernandez replied that she needed Rivera’s “help
manage this group of people and keep up goal oriented.” Rivera did not respond.


70.     On March 5, 2019, while Rivera was still at work, she was approached by
Hernandez. Hernandez walked up to Rivera and said, “so you just said the hell with it?”
Assistant Chief Lee Hernandez added that “you know that he [referring to Diaz] really
needs your help, right?” Rivera responded, “Yes, but he needs to find a campaign
manager.” Hernandez responded, “I think he is going to ask you to do it.” Rivera
responded, “I do not have time for that.” Hernandez responded, “So you are going to tell
him no?” Rivera responded, “If I am telling you no, then, yes, I am going to tell him no
too.”

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71.     Based upon that conversation, Rivera realized that Diaz and Hernandez would see
her as insubordinate for refusing to participate in the Diaz campaign. Rivera was aware of
Diaz’s expectations for political loyalty from his employees and knew from others’
experience that she too would be retaliated against. Rivera therefore decided to give her
two-week notice. Before turning in her two-week notice, Diaz asked her “Not everyone is
cut out for politics?” Clerk Emily Rivera responded, “I agree, it is not for everyone.”


72.     On March 15, 2019, Diaz held a going away ceremony for Rivera as well as another
clerk who was leaving. At the ceremony, Diaz likened Rivera to a dog, and referred to her
being “chained up” and then “cut loose.”

                       SENIOR DEPUTY ANA HERRERA
                  (Failure to Promote on or about March 14, 2019)
               Demoted and Involuntarily Transferred on March 27, 2019)
                            (Terminated on July 19, 2019)

73.     On January 17, 2019, Senior Deputy Ana Herrera approached Lieutenant Lee
Hernandez about a sergeant position that had become available after Anderson was
terminated.


74.     Although, typically, promotional recommendations should had gone up the chain of
command and given to Chief Jerry Luman (who would, in turn, make recommendations to
Diaz), Herrera knew that in order to be promoted to this new position she needed to reach
out to Hernandez, who had essentially taken over Kim Bellotte’s position within the Diaz
campaign after Bellotte was forced to resign in the wake of the Texas Rangers report. When
Senior Deputy Herrera spoke with Hernandez, she did not highlight her police experience,
and, instead, explained all that she has done to contribute to the Diaz campaign, which
included block walking, and attending various campaign functions.




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75.     Herrera waited for a response from Hernandez, but did not receive any. On February
4, 2019, Herrera met with Hernandez again for a second time about the open sergeant
position. Hernandez responded and indicated that Diaz had given the position to Corporal
Blanca Martinez. Even though Corporal Blanca Martinez had less experience, Senior
Deputy Herrera knew that the sergeant position had been awarded to Corporal Blanca
Martinez on the basis that she had given a substantial sum of money to the Diaz campaign,
a sum that Herrera could not compete with.


76.     Disgusted with this promotional policy, on March 14, 2019, Herrera asked
Hernandez, “Why would I help, when I don’t get the recognition or the consideration for
advancement?” Herrera further added, “I’m not doing anything else for someone who
doesn’t appreciate me.” Hernandez responded, by referring to the campaign, and asked,
“So, you’re not going to help?” Senior Deputy Herrera responded with a stern, “No.”


77.     On or about March 19, 2019, just a few days after her March 14, 2019 encounter
with Hernandez, Herrera was informed by Luman that she was being involuntarily
transferred and demoted to a position as a School Resource Officer (“SRO” for short).
Luman received an order directly from Diaz. The SRO assignment was a less desirable
position. Herrera would lose her take home car and would be required to wear a uniform.
Before being demoted to this SRO position, Herrera performed background checks on new
applicants and worked as an IAD investigator under Lieutenant David Williams. The new
SRO assignment performed a reactive patrol like function at schools located within
Precinct Two. As further evidence to the retaliatory nature of this change, Herrera was not
given a notice as required under Section 614.023 Texas Local Government Code.


78.     Herrera’s transfer was not approved by the school. Herrera did not have any training
on how to interact with students and it is likely that the school did not want to lose the
deputy already assigned to the school.



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79.     On or about March 27, 2019, Hernandez informed Herrera that she would be
involuntarily transferred and demoted to an evening shift patrol assignment. As with the
SRO position, the position on evening shift patrol was a less desirable position. Herrera
would lose her take home car and would be required to wear a uniform. Herrera would
also lose the ability to work her extra jobs. As further evidence to the retaliatory nature of
the change, Herrera was not given notice as required under Section 614.023 Texas Local
Government Code.


80.     Unable to cope with these intolerable working conditions, Herrera was forced to
resign on or about July 19, 2019.

                          DEPUTY DWAYNE PACIFICO
               (Demoted and Involuntarily Transferred on March 29, 2019)

81.     On February 15, 2019, Deputy Dwayne Pacifico participated in an investigation
relating to Jessica Duran’s use of a suspended driver’s license. Diaz perceived the
investigation as an attack upon his campaign functions, as Jessica Duran was a large
supporter and had worked closely with Lee Hernandez within the community outreach
division. Duran reported directly to Hernandez.


82.     On March 29, 2019, Pacifico received a phone call from Lieutenant Michael Kritzler
who indicated that Pacifico was to report to duty on night shift in the patrol division.
Kritzler was ordered by Lee Hernandez, who had received orders from Diaz, to demote
and involuntarily transfer Deputy Pacifico. Deputy Pacifico was not provided a Section
611.023 notice and received no reason for his transfer and demotion.


83.     On April 1, 2019, Deputy Pacifico completed his first shift as a night shift patrol
deputy. The night shift in the patrol division position was less desirable. Pacifico lost his
take-home car, was required to wear a uniform, and lost extra job and “z-time” income.



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Pacifico was moved from a proactive investigatory position, where he investigated crimes
from theft to sexual assault, and placed in a reactive patrol assignment.



                         DEPUTY CLAUDIA ARELLANO
                (Demoted and Involuntarily Transferred on April 15, 2019)
                            (Terminated on May 30, 2019)

84.     On April 2, 2019, prior to conducting auctions and tax sales, Deputy Claudia
Arellano ran into Lieutenant Eric Slaughter in the hallway. Slaughter requested Arellano
come into her office for a quick meeting. Although Arellano thought that she was being
called into Slaughter’s office for some legitimate reason, Slaughter indicated that the
meeting was about Jerry Garcia – who was Diaz’s primary challenger in the 2020 election.
Slaughter stated to Arellano that Lee Hernandez would be present at the auctions in order
to “watch” what was going on. Slaughter added, looking directly at Arellano, that “I know
Garcia used to be your supervisor and our friend but he’s the opponent now.” Slaughter
continued, “Again, I can’t tell y’all what to do, but [Hernandez] will be watching
everyone.”


85.     After appearing at the auctions, Arellano did speak to Jerry Garcia. Arellano worried
that if Jerry Garcia approached her and someone saw it, the matter would be reported back
to Diaz.


86.     On April 9, 2019, Claudia felt compelled to attend a campaign meeting located at
Taqueria Tepatitlan, located at 10337 East Fwy, Houston, Texas 77029. This event was
attended with a majority of deputies and civilian employees of Precinct Two. Notice of
the event was given by Christy Hernandez, Lee Hernandez’ wife. Employees were
required to sign in for the event. The sign in sheet existed so that Diaz could monitor
employee attendance.




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87.     As per the normal procedure at these events, Diaz took the stage and began ranting
about the importance of politics. Diaz addressed the political loyalty of those present:

        “How many people in here are on the Diaz campaign today? I don’t want to
        see you on the fence. I want to see you a hundred percent. Come on. I want
        to see some hands. I don't want to see no bullshit in here. Come on. No riding
        the damn fence. If you're with this campaign, I want you here tonight. If
        you're not, get the hell out of here. I'm telling you because I don't need
        nobody on the fence. If you're— If you're going to be— You've got to be loyal.
        You've got to be loyal to this campaign. If you're not loyal, you ain't no good
        to us.”

At this point during the speech, Diaz turned directly to Arellano and got within inches from
her face – almost to the point of touching lips. Now signaling out Arellano, Diaz continued:

        “I mean, I grew up across the street. My kids grew up across the street from
        Claudia. You know? I mean, she's like this. Me and her are like this. We're
        close, right Claudia? I mean, you're loyal as the day is long, right? See? So
        you know when you got that loyalty, that means a lot, because if you're not
        loyal, you're never going to go anywhere. When you're on ship, you need to
        stay on the ship. Don't jump off the ship when the waters get rough, and they
        ‘Uh, I don't know this. I don't know that.’ Hey, we need to all go down
        together.”

88.     After the speech, it took Arellano a couple of minutes to get out from her seat, as
her legs trembled from the embarrassment of being singled out by Diaz. About ten minutes
later, Diaz came up to Arellano and demanded that she put up a campaign sign for “Ramon
Garza.” Arellano indicated that she would comply. Because Diaz lives across the street
from Arellano, Diaz would be able to easily monitor whether Arellano would comply with
his directive. Arellano refused to place the campaign sign in her yard.


89.     Arellano immediately left the campaign meeting and took a moment to collect
herself. Arellano called her husband and told him that she “can’t take this anymore,” after
describing what had transpired. Although Arellano had been coerced to support the Diaz
campaign, Arellano began to realize that the threat of Diaz’s retribution would never end.


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90.     On April 15, 2019, Arellano received a call from Lieutenant Mike Kristzler
indicating that Diaz had demoted her from the civil division to patrol and involuntarily
transferred to an evening position at patrol. The transfer would change Arellano’s hours
from daytime hours (Monday through Friday) to evening hours (Thursday through
Monday). Slaughter indicated that the assignment “starts on Saturday” (on April 20, 2019).
Arellano struggled to maintain her composure. Arellano worried about how she could
provide day care for her children. Arellano experienced an anxiety attack.


91.     On the morning of April 18, 2019, Arellano met with Corporal Rene Vela who
indicated that he was investigating an anonymous letter. Vela repeatedly asked Arellano
if she was friends with Jerry Garcia. Arellano indicated that she did not know he reason
why she was transferred and requested Vela to find out.        As further evidence to the
retaliatory nature of the change, Arellano was not given a 614.023 notice as required under
Section 614.023 Texas Local Government Code for the transfer and demotion.


92.     Later, on April 18, 2019, a meeting was called between Arellano, Hernandez, and
Slaughter.     Hernandez explained that Arellano has been transferred due to a loss of
confidence relating to a writ incident involving a tenant on March 15, 2019.         Again,
Arellano was not provided notice under Section 614.023 Texas Local Government Code.


93.     After work on April 18, 2019, Arellano put up a yard sign for Jerry Garcia. The
same day, Tony Gonzalez made a Facebook post with a picture of the sign in Arellano’s
front yard. The post indicated that Deputy Claudia Arellano was disloyal, echoing similar
language stated by Diaz at the campaign rally at Taqueria Tepatitlan. Tony Gonzalez is the
brother-in-law of Diaz.


94.     On April 24, 2019, Deputy Claudia Arellano received notice from the City of Jacinto
City, the municipality in which Arellano lived, that she was in violation of City ordinances

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relating to building without a permit on her residence. At no point during any relevant time
period of this case was Arellano building on her residence. Arellano believes that given
the timing of this notice to the proximity of the above described events show that Ana Diaz,
acting under the authority as Mayor of Jacinto City, allowed this notice to be placed on
Arellano’s property. Ana Diaz is the wife of Chris Diaz. Both Ana Diaz and Chris Diaz
live on the same street as Arellano and would have knowledge of the condition of
Arellano’s property. Such acts by Ana Diaz and Jacinto City amount to an abuse of power
without justification to threaten or intimidate Arellano for exercising her First Amendment
right to support of Jerry Garcia.


95.     On or about May 15, 2019, Arellano, with counsel present, was interrogated by
Vela.    The interrogation involved allegations that Arellano had committed official
oppression and violated a tenant’s due process rights under the Fourteenth Amendment by
evicting the tenant on March 19, 2019 without a writ. Vela indicated that the complaint
had come from Diaz.


96.     On May 30, 2019, Arellano was terminated from Precinct Two by Diaz. Diaz signed
her termination letter on May 30, 2017. The termination letter did not provide any basis
for termination. Later, Arellano received notice that her F-5 separation of license report
had been updated by Blanca Martinez to show that she had been “dishonorably
discharged.” The only disciplinary category that could have supported a “dishonorable
discharge” was the criminal act related to official oppression.


97.     Arellano filed a separate petition to challenge the dishonorable discharge. During
the hearing on Arellano’s petition, Harris County provided exhibits indicating that she had
not committed official oppression, and, therefore, Diaz had given Arellano the wrong
discharge category. The investigation conducted by Vela determined that Arellano had
committed a due process violation, despite the fact that Arellano had not committed any
act showing that she was deliberately indifferent to the tenant’s due process rights.

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98.     The investigatory files received from Harris County, as authored by Vela, also show
that Vela did not locate the video showing that Arellano had been accompanied by another
deputy, Pernelli Jones, on the date of the alleged writ incident. Furthermore, a statement
from Jones indicated that he did not have any knowledge of the writ incident on March 19,
2019, yet this is contrasted by the video, which shows Jones at the tenant’s property on
March 19, 2019 reading the alleged writ to the tenant.

                            DEPUTY JAVIER ZAVALA
            (Demotion and Involuntary Transferred on or about May 15, 2019)
                     (Failed to promote on or about May 15, 2019)
                                 (Stripped of Extra Jobs)
                       (Terminated on or about August 15, 2019)

99.     Before the events giving rise to this lawsuit, Deputy Javier Zavala was assigned to
a coveted position as a night-shift district patrol. This position was coveted because Deputy
Zavala patrolled the entire Precinct. A night-shift contract patrol position, on the other
hand, is considered an entry-level position. It is generally known within Precinct Two that
the night-shift contract patrol position is a position that Diaz would place deputies if he
wanted to get rid of them.


100.    On or about May 15, 2019, Deputy Zavala was informed by Lt. Mike Kritzler that
Deputy Zavala would be demoted to a contract patrol position. Lt. Kritzler indicated that
this was not his decision, but was made by Diaz.


101.    On or about the same time period, around May 15, 2019, Deputy Zavala was
informed by Hernandez that a new position would be created. Hernandez referred to this
position within the “traffic enforcement unit.”    Deputy Zavala had been asking for this
position for over a year prior, as Deputy Zavala had a background in traffic enforcement.
However, Deputy Zavala was not chosen for this position. Instead, this position was given



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to Deputy Andre Mitchell, who was a known supporter of the Diaz campaign and an
academy classmate of Kim Bellotte.


102.   Hernandez also indicated that Deputy Zavala’s courtesy apartment would be
reevaluated in six months. If Deputy Zavala lost his apartment, he would be forced to
move. The six-month time period also coincided with Diaz’ election campaign and was
likely done in an effort to force Deputy Zavala to contribute to the Diaz campaign,
otherwise risk losing the apartment.


103.   Martinez also indicated that Deputy Zavala needed to submit his extra job requests.
Martinez denied the request on the basis of information that would have been impossible
to provide to Martinez. This was related to the nature of the job, as Deputy Zavala,
provided motorcycle escorts.


104.   Diaz made these employment decisions on the basis of Deputy Zavala’s
participation in the campaign to support Diaz’s political opponent – Jerry Garcia. Deputy
Zavala had been active on social media in his support of Jerry Garcia, and actively posted
support for Garcia on this public forum, which Diaz routinely monitored. Additionally,
Deputy Zavala also stopped attending campaign events, after Hernandez was promoted to
Assistant Chief.   Deputy Zavala received text message from Cindy Hernandez, and
responded back that he could not make campaign events. Deputy Zavala had clearly
violated Diaz’s employment policies and was shiftily punished for failure to participate.


                   SENIOR SERGEANT CINDY VARA-LEIJA
                      (Stripped of job duties before termination)
                (Demotion and Involuntary Transferred on July 25, 2019)
                           (Terminated on August 2, 2019)


105.   Senior Sergeant Cindy Vara-Leija also participated in the Texas Rangers
investigation conducted by Texas Ranger Daron Parker. On April 12, 2018, Leija was

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interviewed by Texas Ranger Daron Parker and provided unfavorable testimony to Diaz
which primarily examined the extent of Kim Bellotte’s involvement in the Diaz campaign.
Leija did not trust Bellotte’s judgment and noted that Bellotte had distributed a large
number of donated items to others.


106.   By providing said testimony to Texas Ranger Daron Parker, Leija sent a clear
message to Diaz that she would no longer tolerate Diaz’s continual use of the employment
relationship at Precinct Two as a means by which Diaz would continue to be elected. Leija
also declined to provide Diaz with any further assistance to his campaign and stopped
attending campaign functions.


107.   Soon afterwards, Diaz started stripping Leija of all her job duties in order to force
her to resign. Diaz removed Leija’s responsibility to process new applicants and gave those
job responsibilities to Latrisha White. Diaz ordered Leija to work in uniform, which was
countermanded by Luman, and, then Diaz ordered Leija to be back into uniform. Diaz also
stripped Leija of her duties to report employee changes to TCOLE. These job duties were
given to Blanca Martinez. Leija was not provided notice under Section 614.023 Texas
Local Government Code for any of the disciplinary changes.


108.   Finally, on July 25, 2019, Lee Hernandez, along with Paul Martinez, called Leija
for a meeting. As a result of that meeting, Diaz demoted and involuntarily transferred,
Leija without notice as required under Section 614.023 Texas Local Government Code.
Hernandez turned, looked directly at Leija and stated, “You do not want to get caught in
my or Diaz’ crosshairs like Williams did.” Leija was placed on a 3:00 p.m. to 11:00 p.m.
patrol evening shift. This patrol shift was a reactive assignment and was considered less
desirable than the administrative position she had occupied prior to her demotion and
involuntary transfer.




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109.    In protest, Leija wrote an email to Diaz indicating that she had never worked on
patrol before and was not experienced. Diaz did not respond to her email. After working
as a patrol supervisor for approximately a week, Leija was forced to resign on August 2,
2019.

                                CHIEF JERRY LUMAN
                         (Stripped of job duties on May 6, 2019)
                              (Terminated on July 30, 2019)

110.    On February 13, 2018, Chief Jerry Luman participated in the Texas Rangers
Investigation by giving what he perceived as a true account of his interactions with Kim
Bellotte. Like all plaintiffs in this case, however, Luman was met with stiff opposition by
Diaz, who was responsible for demoting and/or terminating, at the direction and orders of
Diaz, some of the plaintiffs who participated in the Texas Rangers Investigation. This
includes the termination of Norman Verbosky, demotion and involuntary transfer of
Marcus Anderson and Reed Clarke.


111.    On May 6, 2019, Chief Deputy Jerry Luman was placed on indefinite suspension
by Diaz and served in that capacity until he was terminated on July 30, 2019. Shortly after
Luman was placed on indefinite suspension, Luman’s name was removed from his office
and Diaz gave his chief deputy status to Lee Hernandez who proudly displayed the chief
deputy’s stars on his uniform. These acts occurred while Luman was placed on indefinite
suspension and before the IAD investigation, which lead to his termination, was concluded.


112.    Although an IAD investigation was conducted into allegedly derogatory statements
that Luman told Lee Hernandez, the IAD investigation, launched at Diaz’s direction, failed
to take into account that Lee Hernadez was biased, being a supporter of Diaz and a
contributor to his campaign, and an individual who had received Luman’s job before the
investigation had concluded. As a result of that IAD investigation, Luman was terminated




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by Diaz based on statements that he allegedly told Hernandez.         Diaz signed Luman’s
termination letter.


113.   While Luman was placed on indefinite suspension, but before he was terminated,
on May 16, 2019, Luman, like Deputy Arellano, did also receive notice that his property,
which was located inside the city limits of Jacinto City, Texas, was in violation of an
ordinance relating to the height of the grass on the property. Luman’s property was not in
violation of any grass height restriction. Luman believes that given the timing of this notice
to the proximity of the events described in this lawsuit show that Ana Diaz, acting under
the authority as Mayor of Jacinto City, allowed this notice to be placed on his property.
Ana Diaz is the wife of Chris Diaz. Diaz had knowledge that Luman owned the property
because Diaz had visited the property before with Luman. Such acts by Ana Diaz and
Jacinto City amount to an abuse of power without justification to threaten or intimidate
Luman for exercising his First Amendment rights.



                                 MARY ANN CARRION
                        (Stripped of job duties before termination)
                               (Terminated on June 3, 2019)

114.   On April 17, 2018, Mary Ann Carrion participated in the Texas Rangers
Investigation by giving what she perceived as a true account of her interactions with Kim
Bellotte.


115.   Instead of being commended for exposing Kim Bellotte’s corruption, however,
Carrion experienced a gradual reduction of duties in retaliation for her participation in the
Texas Rangers report. One of the clerks that worked under her – Jessica Duran – was given
the ability to approve purchase orders, purchase items for the department such as pens,
pencils with Diaz’ name printed on them, access payroll and budget documents. Jessica
Duran, who reported directly to Diaz and Hernandez, was insubordinate and refused to
correctly document her timesheets.

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116.   On March 2019, Diaz directed that Carrion cease her involvement in handling
FMLA for the department and was directed to train Dora Lopez so that she could take over
this duty. Carrion was removed from the hiring process and, after being ordered to do so,
Lee Hernandez hired two civilian entry-level clerks, including Shelly Rivas, the wife of a
sitting Jacinto City Council Member, and Victoria Gutierrez, Hernandez’s son’s
girlfriend. In May 2019, Carrion’s payroll duties were taken away from her and given to
Shelly Rivas. In May 2019, Diaz blamed Carrion for late Chapter 59 reports after Carrion
had promptly acted to obtain an extension of the deadline. Carrion informed Diaz that
there was a glitch with the reporting system at the state level and he had received emails
documenting the issue.


117.   While Diaz was stripping away her job responsibilities, Carrion told Luman that she
no longer wished to donate to the Diaz campaign, and refused to participate in any
additional Diaz campaign functions.


118.   In response, Carrion was also ordered to submit a log of her daily activities because
Hernandez and Diaz suddenly did not know what Carrion was doing in the office. Diaz
and Hernandez also made specific references to the fact that Carrion was not
participating in Diaz’ campaign functions. Hernandez likely was aware of this fact
because of his wife’s – Christy Hernandez – monitoring of employee participation at
campaign functions.


119.   Due to the intolerable working conditions, Carrion was forced to resign on June 3,
2019. Carrion was replaced by Nancy Gosney, who was a longtime supporter of the Diaz
campaign.




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                         LIEUTENANT DAVID WILLIAMS
                               (Demotion on April 1, 2019)
                        (Stripped of job duties on April 11, 2019)
                         (Demoted to deputy on August 9, 2019)
                            (Terminated on August 28, 2019)


120.   On February 13, 2018, Lieutenant David Williams participated in the Texas Rangers
Investigation. At the conclusion of the Texas Rangers Investigation, David Williams also
prevented Diaz from rehiring Kim Bellotte. If she was rehired, Williams explained to Diaz
that he would be required to investigate Bellotte. Rather than subjecting Bellotte to another
investigation, however, Bellotte resigned. Williams actions in this regard shows Diaz that
he need control over the IAD department in order to facilitate sham investigations of
alleged officer misconduct.


121.   On April 1, 2019, Williams was informed by Hernandez that Diaz was demoting
him, and would be demoted by stripping him of a majority of his assignments, including
(1) supervision of the Internal Affairs Division, (2) criminal warrants, (3) recruiting, and
(4) background investigations. Williams was also ordered to vacate his office. With
regards to the internal affairs division, Williams’ job duties were given to Vela, who would
later investigate Williams. No explanation was provided to Williams for the employment
change, and Williams did not receive the required notice under Section 614.023 Texas
Local Government Code for the change.


122.   On April 11, 2019, Hernandez informed Williams, now losing his “Internal Affairs”
designation, that Diaz had ordered that he would be transferred and demoted to the evening
shift. This is the infamous 3:00 p.m. to 11:00 p.m. patrol evening shift. Williams reported
to Lieutenant Michael Kritzler, the division commander.          Prior to this transfer and
demotion, Williams had been in Kritzler’s chain of command, and now the chain of
command, with respect to Williams and Kristzler, had been reversed. This evening shift
lieutenant position never existed before and was specifically created for Williams.


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Williams perceived this position as less desirable, as he was no longer a member of Diaz’s
command staff, originally being the third individual in charge of all personnel at Precinct
Two, excluding Diaz, and was ordered to report directly to Kritzler, the division
commander, who was previously his subordinate. No explanation was provided to
Williams for the employment change, and Williams did not receive the required notice
under Section 614.023 Texas Local Government Code for the change.


123.   On May 30, 2019, Hernandez informed Williams that Diaz had again ordered
Williams to be involuntarily transferred and demoted to a task force position previously
occupied by Deputy Ricardo Rodriguez. The task force position was a day shift assignment
and was perceived as a less desirable. The individual who Lieutenant Williams replaced
was a deputy. No explanation was provided to Williams for the employment change, and
Williams did not receive the required notice under Section 614.023 Texas Local
Government Code for the change. Hernandez further indicated that Williams needed to
contribute to the Diaz campaign, but Williams refused.


124.   About a week later, Williams was transferred back into the 3:00 p.m. to 11:00 p.m.
patrol evening shift. This time, however, Williams was ordered to be placed back into
uniform for the first time. Williams did not have any real job responsibilities, because this
shift was supervised by Lieutenant Michael Kritzler. No explanation was provided to
Williams for the employment change, and Williams did not receive the required notice
under Section 614.023 Texas Local Government Code for the change


125.   On July 17, 2019, the patrol car being driven by Williams was burglarized. Shortly
thereafter, Williams filed a report, but was placed on administrative leave without pay on
July 24, 2019. Diaz assigned the investigation to Vela. As a result of that investigation,
although Williams was cleared by any wrongdoing relating to the burglary, Williams was
demoted, on August 9, 2019, for (1) insubordination, (2) untruthfulness, and (3) violation
of an extra employment policy.

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126.     The results of the investigation were explained to Williams orally by Paul Martinez
on August 9, 2019.             Williams has a difficult time understanding the results of the
investigation, as his attorney was prohibited from asking questions,2 but, it appears that the
insubordination was related to alleged schedule change that occurred on July 12, 2019.
Williams has reviewed his timesheet submitted for July 12, 2019 and that timesheet
indicates that Williams only claimed the usual 3:00 p.m. to 11:00 p.m. patrol evening shift.
As best as Williams is able to determine, the untruthfulness was related to a statement that
Williams did not work at Hendricks Polygraph, Inc., which Williams correctly indicated to
Vela that he had not worked at Hendricks for a long time.                          Finally, IAD investigation
determined that Williams had violated an extra employment policy with Hendricks
Polygraph, Inc. while Williams was suspended. Williams did conduct several polygraph
examinations while he was suspended, but did not get paid, and Williams donated his time.
Therefore, the polygraph examinations were not an extra job.


127.     On August 14, 2019 and, again, on August 26, 2019, Williams filed two grievances
related to an issue with his pay which arose after his demotion on August 9, 2019. After
receiving no response, August 28, 2019, Lieutenant David Williams was constructively
discharged.

                          CAUSE OF ACTION AND DAMAGES FOR
                         VIOLATIONS OF THE FIRST AMENDMENT

128.     The Plaintiffs file a cause of action against Harris County and Constable Chris Diaz,
in his individual capacity, for violation of their rights for freedom of speech and freedom
of association as guaranteed by the First Amendment



2
 Martinez claimed that policy did not allow an attorney to ask questions. Upon further review of the polices, Williams
has not been able to identify any policy indicating that an attorney cannot ask questions. This is especially troubling
given the confusing nature of Martinez explanation as to the alleged policy violations that he claimed Williams had
violated. Questions were certainly warranted in this instance. Denial of effective representation in this matter is
another example of retaliatory animus.

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129. The Defendants coerced the receipt of services and funds to the Diaz campaign upon
the Plaintiffs’ employment at Harris County.


130.   Ana Diaz and the City of Jacinto City, Texas also abused their position of power in
order to threaten and intimidate the Plaintiffs for exercising their rights under the First
Amendment.


131.   Additionally, when the plaintiffs were fired or otherwise suffered adverse
employment actions by the defendants, the law was well-settled that terminating a public
employee or otherwise subjecting him or her to adverse employment actions because of
that individual’s support for an individual running for elected office violated a clearly
established constitutional right.


132.   The law was also well-settled at the time that terminating a public employee because
the employee was associated with an individual exercising his or her right to freedom of
speech violated a clearly established constitutional right.


133.   The law is also well-settled that public employment may not be conditioned upon
campaign donations to support a private party, here, the Diaz campaign.


134.   The plaintiffs’ rights under the first amendment outweighed the interest of the
defendant(s) in promoting the defendants’ efficiency. Their actions did not have, and could
not reasonably be expected to have, a detrimental effect on the defendants’ efficient
delivery of public services.


135.   Diaz was acting “under color of state law” when he deprived the plaintiffs of their
rights under the Constitution of the United States.




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136.   As a Constable, Diaz is an official policymaker for Harris County Precinct Two. He
was authorized to and had final authority to terminate all of the Plaintiffs in this case. Diaz
abused or misused a power that he possessed only because he was an official of Harris
County, Texas.    Diaz’s demotion, termination, and other employment decisions, made in
this case, were also accepted by the Harris County Commissioners Court without question.


137.   One of Chief Deputy Luman’s primary job responsibilities involved carrying out
Diaz’s orders with respect to employment related decisions. When ordered by Diaz, Chief
Deputy Luman was required to carry out Diaz’s orders. Failure to do so could result in
discipline, including insubordination.


138.   For example, Diaz directly ordered Luman to terminate Verbosky.                 Before
terminating Verbosky, Luman did not consult with anyone from Harris County
Commissioners Court to carrying out Diaz’s order to terminate him. Luman, serving as
capacity as Chief Deputy, and second in line to Diaz himself, never once obtained
permission, or even spoke with any personnel purported to represent the Harris County
Commissioners Court before terminating anyone employed by Diaz. Nor did Chief Deputy
Luman review any policy or was even aware of any employment policy authorized by the
Harris County Commissioners Court indicating that Harris County Commissioners Court
had curtailed Diaz’s policymaking authority to hire, demote, or terminate employees, or
that Diaz was not the official policymaker for Precinct Two, or that the Harris County
Commissioners Court had any authority over Diaz’s employment policies and Diaz’s
decisions derived from the corrupt polices created by Diaz to fund his campaign. No one
at Precinct Two, except for Diaz himself, had the power to terminate employees. Only
Diaz wielded that power and he held on to that power tightly, as it was the means to obtain
support for his political campaign.


139.   Additionally, Harris County Commissioners Court has never extended civil service
protection, under Chapter 143 of the Tex. Loc. Gov’t Code, to any deputy or civilian

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employee of the Harris County Constables.         Although the preamble of Chapter 143
indicates that police departments should be composed of capable personnel who are free
from political influence, Chapter 143 has never been utilized by Harris County to curtail
the Constables’ authority to accomplish these important goals.


140.   In fact, the employment decisions that Diaz made in this case, follow a long history
of unfettered policymaking authority held exclusively by the Harris County Constables to
make employment related decisions. In Harris County, there are a total of eight precincts
in Harris County. One of the former Harris County Constables, Ken Jones, who was
employed as a deputy and, then later, as Constable for Precinct Three, avers, in an affidavit
attached as Exhibit 1 (and incorporated for all purposes herein) that he was the
policymaker for Precinct Three with respect to employment related decisions. Constable
Jones is not aware of any deviation within any of the other precincts, all indicating that
Harris County Constables are the final policymaking authorities or that Harris County
Commissioners Court accepted the Constables’ employment related policies without
question.



                                 RELIEF REQUESTED

141.   The plaintiffs ask that this Court enter a judgment:


       (1)    Declaring that the acts and practices complained of in this Complaint are in
              violation of law, including all discipline received by the plaintiffs that
              required notice under Section 614.023 Texas Local Government Code, but
              no notice was issued. Plaintiffs request that any and all discipline received
              by the defendants that did not comport with Section 614.023 Texas Local
              Government Code be overturned;




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  (2)   Declaring that the acts and practices complained of in this Complaint are in
        violation of law under Janus v. Am. Fed'n of State, Cty., & Mun. Employees
        Council 31, 138 S. Ct. 2448 (2018);


  (3)   Enjoining and permanently restraining the Defendants from conditioning
        employment upon contributions to the Diaz campaign;


  (4)   Enjoining and permanently restraining the Defendants from retaliating
        against them and all other employees who engage in activities protected by
        the first amendment;


  (5)   Directing the Defendants to pay damages for lost wages and employee
        benefits suffered by the plaintiffs and caused by the unlawful retaliation
        against them from the time of their termination to the time of trial;


  (6)   Directing the Defendants to pay the plaintiffs compensatory damages that
        they suffered, past and future, caused by the unlawful retaliation against
        them;


  (7)   Directing the Defendants to pay exemplary and/or punitive damages, with
        the exception of Defendants Harris County and San Jacinto;


  (8)   Directing the Defendants to reinstate each plaintiff to his or her former or an
        equivalent position at a comparable rate of pay or, in the alternative, pay each
        individual’s front pay for the maximum reasonable time into the future when
        he or she can be reasonably expected to secure substantially comparable
        employment with the same or better pay and benefits or when each reaches
        his or her normal retirement age;




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  (9)    Directing the Defendants to correct and/or update records with Texas
         Commission on Law Enforcement indicating that any deputy terminated for
         violations of Diaz’ employment polices shall have separated from Harris
         County with a “honorable discharge;”


  (10)   Awarding Plaintiffs pre-judgment interest on the amounts owed at the
         maximum rate allowed by law;


  (11)   Awarding Plaintiffs the costs of this action, together with reasonable
         attorneys' fees and expert witness fees;


  (12)   Awarding Plaintiffs post-judgment interest on the amount of judgment until
         paid at the maximum rate allowed by law; and


  (13)   Awarding Plaintiffs such other relief, legal or equitable, as may be warranted.




                              Respectfully submitted,

                              THE POERSCHKE LAW FIRM, PC

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         PLAINTIFFS DEMAND A JURY TRIAL ON ALL ISSUES




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                           CERTIFICATE OF SERVICE

      I certify that a true copy of the above was served on each party or attorney of

record in accordance with the Federal Rules of Civil Procedure on June 7, 2020.


Laura Beckman Hedge                           Via email at Laura.Hedge@cao.hctx.net
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